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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION


     TIMOTHY JACKSON,
          Plaintiff,
                                                               C.A. No. 4:21-mc-00132
     v.
                                                                  Underlying Case
     LAURA WRIGHT, ET AL.,                                     C.A. No. 4:21-cv-00033
          Defendants.


                                                 ORDER

           Before the Court is Movants’ Opposed Motion to Stay and, Alternatively, Unopposed

    Motion for Extension (Dkt. #10). Having considered the motion and the relevant pleadings, the

    Court finds the Motion to Stay should be GRANTED.

           This Court granted Defendants’ Opposed Motion to Stay Proceedings Pending Appeal in

    underlying case 4:21-cv-33 on March 8, 2022. It is therefore ORDERED that Movants’ Opposed
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    Motion to Stay (Dkt. #10) is hereby GRANTED. It is further ORDERED that Movants'

    obligation to comply with this Court’s Feb. 1, 2022 Order is hereby STAYED pending the

    resolution of Defendants’ appeal in underlying case 4:21-cv-33.

          SIGNED this 21st day of March, 2022.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE




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